                              Case 20-11961-BLS                     Doc 1        Filed 08/17/20            Page 1 of 19

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____                                                                      Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        _______________________________________________________                         Case number (if known)_____________________________________
              Name



                                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                          B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                             Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                             Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases                No
      pending or being filed by a
      business partner or an                Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have            No
      possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                      Other _______________________________________________________________________________



                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor      RGN-Group Holdings, LLC
            _______________________________________________________                            Case number (if known)_____________________________________
            Name




 13. Debtors estimation of              Check one:
     available funds                        Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                            1-49                                1,000-5,000                              25,001-50,000
 14. Estimated number of
                                            50-99                               5,001-10,000                             50,001-100,000
     creditors
                                            100-199                             10,001-25,000                            More than 100,000
                                            200-999

                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 15. Estimated assets
                                            $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


                                             $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
 16. Estimated liabilities
                                             $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million                $100,000,001-$500 million                More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on ______
                                                        MM / DD / YYYY

                                                             , Responsible Officer
                                             _____________________________________________
                                                                                                         James S. Feltman
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                  Responsible Officer
                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor      _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                          _____________________________________________            Date       _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         _________________________________________________________________________________________________
                                         Printed name

                                         _________________________________________________________________________________________________
                                         Firm name

                                         _________________________________________________________________________________________________
                                         Number     Street

                                         ____________________________________________________            ____________ ______________________________
                                         City                                                            State        ZIP Code

                                         ____________________________________                            __________________________________________
                                         Contact phone                                                   Email address



                                         ______________________________________________________ ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                            RIDER 1

       On the following dates, each of the entities listed below (collectively, the “Debtors”) filed
a voluntary petition in the United States Bankruptcy Court for the District of Delaware for relief
under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532.

7/30/2020
    •   RGN-Columbus IV, LLC (Case No. 20-11894)

8/2/2020
    •   RGN-Chapel Hill II, LLC (Case No. 20-11910)

8/3/2020
    •   RGN-Chicago XVI, LLC (Case No. 20-11916)

8/8/2020
    •   RGN-Fort Lauderdale III, LLC (Case No. 20-11931)

8/17/2020
    •   H Work, LLC
    •   RGN-Group Holdings, LLC
    •   RGN-National Business Centers, LLC

The Debtors will move for joint administration of their cases for procedural purposes only
pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure under the case number
assigned to the chapter 11 case of RGN-Group Holdings, LLC.




ACTIVE.124810361.01
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                [Signature page follows.]
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       IN WITNESS WHEREOF, the undersigned, being the sole member of the Company,
has executed this written consent as of the   day of August, 2020. Effectiveness requires
execution by only one signatory listed below.

                                       SOLE MEMBER OF RGN-GROUP HOLDINGS,
                                       LLC:


                                       By:_________________________________
                                       Name: Michael J. Osburn
                                       Title: Vice President, Secretary and Treasurer

                                       By:_________________________________
                                       Name: Wayne Berger
                                       Title: President and Chief Executive Officer—
                                              Americas

                                       By:_________________________________
                                       Name: Joshua Nicosia
                                       Title: Assistant Secretary




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      Fill in this information to identify the case:

                  RGN-Group Holdings, LLC
      Debtor name __________________________________________________________________

                                                                                  Delaware
      United States Bankruptcy Court for the: ______________________ District of _________
                                                                            (State)
                                                                                                                                            Check if this is an
      Case number (If known):   _________________________
                                                                                                                                            amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code     email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                             contact                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                           professional          unliquidated, total claim amount and deduction for value of
                                                                           services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if   Deduction for      Unsecured
                                                                                                                 partially         value of           claim
                                                                                                                 secured           collateral or
                                                                                                                                   setoff

1




2




3




4




5




6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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    Debtor       RGN-Group Holdings, LLC
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if   Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent, claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated, total claim amount and deduction for value of
                                                                         services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                partially         value of           claim
                                                                                                                secured           collateral or
                                                                                                                                  setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    RGN-Group Holdings, LLC, 1                              Case No. 20-_____ (___)

                   Debtor.


      COMBINED CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY
     SECURITIES HOLDERS PURSUANT TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3),
              AND 7007.1 AND CERTIFICATION OF NO TAX RETURN

             1.   Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

Bankruptcy Procedure, the above-captioned debtor (the “Debtor”) certifies that the following

corporate entity (i) directly or indirectly owns 10% or more of the Debtor and (ii) directly or

indirectly holds 100% of the Equity Interests of the Debtor:


                    Name and Address                         Ownership & Interest
                    Regus Corporation                        100% Direct Ownership
                    15950 Dallas Parkway, Suite 400          100% of Equity Interest
                    Dallas, TX 75248



             2.   The Debtor hereby certifies that it is a non-electing single-member limited

liability corporation that is considered a “disregarded” entity under Treas. Reg. Section

301.7701-3. As such, pursuant to section 1116(1)(B) of chapter 11 of title 11 of the United

States Code, 11 U.S.C. §§ 101-1532, the Debtor hereby further certifies that no Federal tax

return has been filed for the Debtor.



1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s Federal Employer
Identification Numbers (“FEIN”), where applicable are as follows: RGN-Group Holdings, LLC, RGN-National
Business Centers, LLC (7723), H Work, LLC (4516), RGN-Columbus IV, LLC, RGN-Chapel Hill II, LLC, RGN-
Chicago XVI, LLC, and RGN-Fort Lauderdale III, LLC. The aforementioned Debtors that do not include a FEIN
are disregarded entities for tax purposes and do not have FEINs. The mailing address for the Debtors is 3000
Kellway Drive, Suite 140, Carrollton, Texas 75006 (Attn: James S. Feltman, Responsible Officer).


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                                        RGN-GROUP HOLDINGS, LLC
                                                  Balance Sheet
                                               December 31, 2019
                                                  (In thousands)


                                                       Assets
Assets:
  Cash and cash equivalents                                                        $            100
  Property and equipment, net                                                               998,798
  Deferred tax asset                                                                          7,058
              Total assets                                                         $       1,005,956



Liabilities:
   Accounts payable                                                                $         21,438
   Accrued expenses                                                                             568
   Landlord funded tenant leasehold liabilities, net                                        496,165
   Due to affiliates, net                                                                   427,845
              Total liabilities                                                             946,016
                                                                                             59,940
                                                                                   $       1,005,956


See accompanying notes to financial statements.




                                                          3
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                                        RGN-GROUP HOLDINGS, LLC
                                              Statement of Income
                                        Year ended December 31, 2019
                                                 (In thousands)


Revenue                                                                           $       108,718
Cost of revenue:
  Depreciation                                                                            129,587
  Amortization of landlord funded tenant leasehold liabilities                            (76,095)
  Other costs of leased property                                                           16,707
  General and administrative fees                                                             686
                                                                                           70,885
              Operating income                                                             37,833
Loss on disposal of property and equipment                                                  7,009
Interest expense                                                                           23,152
Income tax expense                                                                          2,120
              Net income                                                          $         5,552


See accompanying notes to financial statements.




                                                          4
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                                       RGN-GROUP HOLDINGS, LLC
                                           Statement of Cash Flows
                                        Year ended December 31, 2019
                                                 (In thousands)


Operating activities:
  Net income                                                                           $          5,552
  Adjustments to reconcile net income to net cash provided by operating activities:
     Depreciation                                                                              129,587
     Amortization of landlord funded tenant leasehold liabilities                              (76,095)
     Deferred income tax expense                                                                 2,053
     Loss on disposal of property and equipment                                                  7,009
     Changes in operating assets and liabilities:
                                                                                                    67
        Accrued expenses                                                                            79
              Net cash provided by operating activities                                         68,252
Investing activities:
   Purchase of property and equipment                                                          (137,803)
   Change in due to affiliates, net                                                              69,551
              Net cash used in investing activities                                             (68,252)
              Change in cash and cash equivalents
Cash and cash equivalents at beginning of year                                                     100
Cash and cash equivalents at end of year                                               $           100

Supplemental disclosure of cash flow information
  Non-cash interest expense                                                            $        23,152
  Non-cash income tax expense                                                                    2,120
Supplemental disclosure of noncash investing activities:
  Property and equipment additions funded by landlord                                  $       178,470
  Property and equipment expenditure accrual                                                    21,438
Supplemental disclosure of noncash financing activities:
  Contributions of cumulative tax liabilities (note 5)                                 $            67


See accompanying notes to financial statements.




                                                           6
                                 Case 20-11961-BLS                Doc 1           Filed 08/17/20              Page 18 of 19

 Fill in this information to identify the case and this filing:


 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


              Chapter 11 or Chapter 9 Cases:                  List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders
              (Official Form 204)


              Other document that requires a
              declaration__________________________________________________________________________________


        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on ______________                             _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                ________________________________________________________________________
                                                                Printed name


                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                          SCHEDULE 1 TO OFFICIAL FORM 202

        The Responsible Officer of the above-captioned Debtor has examined the information in

the following documents and reasonably believes the information therein is true and correct:


                Combined Corporate Ownership Statement and List of Equity Securities Holders
                Pursuant to Fed. R. Bankr. P. 1007(a)(1), 1007(a)(3), and 7007.1 and
                Certification of No Tax Return
                Balance Sheet
                Statement of Operations
                Statement of Cash Flows




ACTIVE.124810359.01
